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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


    IN RE: FTX CRYPTOCURRENCY            No: 1:23-md-03076-KMM
    EXCHANGE COLLAPSE LITIGATION
                                         MDL No. 3076




    This Document Relates To:

    Garrison v. Bankman-Fried,
    No. 22-cv-23753-KMM




     DEFENDANT SHAQUILLE O’NEAL’S INDIVIDUAL MOTION TO DISMISS AND
                 INCORPORATED MEMORANDUM OF LAW
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   I.     INTRODUCTION

          Defendant Shaquille O’Neal moves to dismiss Plaintiffs’ Class Action Complaint

   (“CAC”), ECF No. 179, for the reasons set forth in the omnibus Motion to Dismiss (“MTD”), and

   files this short separate motion to address certain specific deficiencies with respect to Plaintiffs’

   factual allegations regarding Mr. O’Neal.

   II.    PLAINTIFFS FAIL TO PLEAD FACTS DEMONSTRATING THAT MR. O’NEAL
          SOLD OR SOLICITED THE SALE OF SECURITIES

          Plaintiffs wholly fail to allege that Mr. O’Neal sold or solicited the sale of securities,

   instead spilling several pages of ink alleging routine advertising activities, namely that Mr. O’Neal:

          o appeared in a video to say: “I’m excited to be partnering with FTX to help make crypto

              accessible for everyone. I’m all in. Are you?,” id. ¶¶ 502, 525-26;

          o tweeted he had “teamed up with @ FTX_Official” to “make crypto more accessible for

              everyone,” and provided a code to “earn $10” for trading on FTX, id. ¶ 527;

          o made social media posts advertising “Shaq’s Fun House,” a musical event and carnival

              sponsored, in part, by FTX, id. ¶¶ 506-19;

          o responded on social media to an FTX advertisement referencing Stephen Curry to joke

              that Curry was a “crypto expert,” id. ¶¶ 520-22;

          o appeared as a guest on an FTX podcast where he discussed “his business philosophy,

              how he became involved in cryptocurrency, and his own personal cryptocurrency

              project,” id. ¶¶ 528-30; and

          o referenced FTX in social media posts and retweeted its posts, id. ¶¶ 524, 526, 531.

          Missing entirely from these allegations is any allegation that Mr. O’Neal ever mentioned

   Plaintiffs’ alleged securities, YBAs or FTT—let alone that he sold or solicited the sale of these

   products. See MTD at 12, 19-20. See, e.g., AREI II Cases, 216 Cal. App. 4th 1004, 1014-15 (2013);


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   Dillon v. Axxsys Int’l, Inc., 185 Fed App’x. 823, 828 (11th Cir. 2006); Nikkel v. Stifel, Nicolaus &

   Co., Inc., 542 P.2d 1305, 1308 (Okla. 1975).1 Plaintiffs’ securities claims—Counts 1, 8 and 13—

   must be therefore dismissed with prejudice as to Mr. O’Neal.

   III.     PLAINTIFFS HAVE NOT IDENTIFIED ANY FALSE OR MISLEADING
            STATEMENT MADE BY MR. O’NEAL

            Plaintiffs also do not adequately allege—much less with the specificity Rule 9(b)

   demands—that Mr. O’Neal engaged in an unlawful, unfair, or deceptive trade practice.2 Plaintiffs

   nowhere explain how Mr. O’Neal’s generic promotions were fraudulent or otherwise misleading.

   See CAC ¶¶ 502-58. Nor do they identify a single allegedly false statement Mr. O’Neal made about

   FTX’s financial products or services. See id. To the extent any of Mr. O’Neal’s advertisements

   could be said to convey that FTX “was safe and suitable for everyone,” as Plaintiffs allege, those

   statements would be non-actionable puffery. See MTD at 25.

            Similarly, Plaintiffs’ assertion that Mr. O’Neal’s promotions were deceptive because he

   failed to disclose, or “intentionally disguised or downplayed[,] the fact that he was being paid for

   promoting FTX,” id. ¶¶ 535-36, are belied by their own pleadings. Plaintiffs admit that Mr. O’Neal

   posted that he was “partnering” with FTX, id. ¶ 502, and that FTX had sponsored his event,

   “Shaq’s Fun House,” id. ¶ 506. In context, no reasonable consumer would confuse these


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       In any event, Plaintiffs cannot (and have not) alleged that they purchased these products as a

   result of Mr. O’Neal’s promotions, or even that they viewed those promotions at all. See CAC

   ¶¶ 39-54. But even assuming this deficiency could be corrected, the fundamental deficiency—that

   the promotions do not solicit the sale of any security—would still require dismissal.

   2
       For the reasons explained in the MTD, Florida, California, and Oklahoma consumer protection

   laws are inapplicable to securities claims. MTD at 23-24.

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   promotions for anything other than paid endorsements. See MTD at 24-25, 27-28.

   IV.    PLAINTIFFS CANNOT SHOW MR. O’NEAL WAS AWARE OF OR INVOLVED
          IN FTX’S FRAUD

          Plaintiffs also wholly fail to allege facts plausibly demonstrating that Mr. O’Neal was

   aware of or furthered FTX’s fraud in any way. Plaintiffs must plead “actual knowledge . . . , not

   merely that certain red flags indicate a defendant ‘should have known.’” Honig v. Kornfeld, 339

   F. Supp. 3d 1323, 1343 (S.D. Fla. 2018) (emphasis added); MTD at 13-16, 24, 26, 29-31. None of

   Plaintiffs’ alleged facts—i.e., that one of Mr. O’Neal’s “favorite words” is “due diligence,” id.

   ¶ 538, or that Mr. O’Neal is himself an entrepreneur with substantial resources, id. ¶¶ 529-30, 537,

   539-40—come close to satisfying that burden. See MTD at 13-16, 24, 26, 29-31. This failure

   defeats Plaintiffs’ consumer protection, aiding and abetting, and conspiracy claims. See, e.g.,

   Silverboys, LLC v. Joelsson, 2020 WL 13401917, at *12 (S.D. Fla. Nov. 30, 2020) (Florida

   consumer protection claim); Taylor v. Costco Wholesale Corp., 2020 WL 5982090, at *4 (E.D.

   Cal. Oct. 8, 2020) (same—California); 15 O.S. § 753(2), (5) (same—Oklahoma); Honig, 339 F.

   Supp. 3d at 1343 (Florida aiding and abetting); Almeida v. BOKF, NA, 471 F. Supp. 3d 1181, 1197

   (N.D. Okla. 2020) (same—Oklahoma); Feng v. Walsh, 2021 WL 8055449, at *11 (S.D. Fla. Dec.

   21, 2021), report and recommendation adopted, 2022 WL 669198 (S.D. Fla. Mar. 7, 2022)

   (conspiracy).

   V.     CONCLUSION

          For these further reasons, the complaint against Mr. O’Neal should be dismissed with

   prejudice.



   Dated: September 21, 2023                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 21, 2023, a true and correct copy of the foregoing
   was filed electronically with the Clerk of the Court, by using the CM/ECF system, causing a true
   and correct copy to be served on all counsel of record.

                                               By: /s/ Roberto Martinez
                                                  Roberto Martínez




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